                                                              MOSER LAW FIRM, P.C.
Steven J. Moser, Esq.
Phone 631-671-1150
Cell 516-671-2776
smoser@moseremploymentlaw.com


                                                      June 15, 2020

VIA ECF

Hon. Joan M. Azrack, U.S.D.J.
United States District Court
Eastern District of New York
100 Federal Plaza
Central Islip, NY 11722

RE:    Adkins v. Garda CL Atlantic, Inc., 16-cv-00641

Dear Judge Azrack:

       I represent certain plaintiffs in the above captioned matter. Plaintiffs propose the
following briefing schedule for the anticipated motions to vacate and dismiss/remand:

       Motion(s) to be served                                                          July 17, 2020

       Opposition to be served                                                      August 17, 2020

       Reply briefs to be served                                                    August 24, 2020

        Garda has not consented to the briefing schedule, and despite good faith efforts to come
to an agreement, the parties are at an impasse. After first indicating that it would be willing to
stipulate that Mr. Rossi was a citizen of Florida at the time of filing of the complaint, Garda now
claims that it entitled to discovery to support its allegations of complete diversity in its 2017
notice of removal, and refuses to enter into a briefing schedule without discovery.

       This Court has noted that a party is not entitled to pre-motion discovery in order to
oppose a motion to dismiss. Nevertheless, I offered to produce to Garda objective indicators of
Mr. Rossi’s Florida citizenship, such as his driver’s license, federal tax returns, leases, deeds, and
vehicle registrations. Garda has responded that regardless of the proof of citizenship, it still
wants to take Mr. Rossi’s deposition. Why? According to Garda, if Mr. Rossi was a Florida
domiciliary at the time the complaint was filed, then he made false statements about his
residence in his verified complaint.

       However, Mr. Rossi never asserted that he resided in Suffolk County in 2017.

       1. The complaint only states that plaintiffs “were” (past tense) residing in Suffolk
          county “at all times herein mentioned.” Complaint, ¶ 1. Nowhere does the complaint




                          5 east main street, Huntington, NY 11743
                              www.moseremploymentlaw.com
           state that Mr. Rossi was residing in Suffolk County at the time the complaint was
           filed.

       2. The complaint was not verified by Mr. Rossi.

       3. The attorney’s verification clearly indicates that some of the plaintiffs were no longer
          residents of Suffolk County when the complaint was filed. Instead, “some of the
          plaintiffs reside[d] in a County other than the County where [Ms. Ball] maintain[ed]
          her office.” See Verification to Complaint Dated March 15, 2017.
        At the same time, despite the fact that Mr. Rossi relocated to Florida to work for Garda in
2015, Garda refuses to furnish any information regarding his transfer to or residence in Florida,
because theoretically he could have moved back to New York before the complaint was filed.
Garda claims that it should be entitled to serve document requests, interrogatories, and take
depositions regarding its own representation of complete diversity in 2017. But Garda refuses to
agree to furnish any discovery.

       Garda has offered only one explanation for its assertion of complete diversity - the first
sentence of the complaint. For that reason alone, the case should be remanded to state court, as
Garda had no basis for making the allegation of complete diversity in the first instance.

       Plaintiffs request that this briefing schedule be so ordered in order to avoid unnecessary
delay and expense.

                                                     Respectfully submitted,


                                                     /s/

                                                     Steven J. Moser




                                 MOSER LAW FIRM, P.C.
                     5 East Main Street, Huntington, New York 11743
                             www.moseremploymentlaw.com
